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                             UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO

 UNITED STATES OF AMERICA,
                                                  Case No. 2:23-cr-00253-AKB
                Plaintiff,

        vs.                                       UNITED STATES'
                                                  SUPPLEMENTAL DISCOVERY
 KURT MITCHELL WARREN,                            RESPONSE AND DEMAND FOR
                                                  RECIPROCAL DISCOVERY
                Defendant.




       The United States of America, by and through Joshua D. Hurwit, United States Attorney

for the District of Idaho, and the undersigned Assistant United States Attorney, provides the

following discovery to Defense Counsel for the above-named Defendant via U.S. File Exchange

(USAfx) on January 29, 2024:

       1. Supplemental Investigative Report; Bates Nos. 0277-0286.

       The United States objects to any request for discovery by the Defendant which exceeds

the requirements of Fed. R. Crim. P. 16 and 18 U.S.C. § 3500.

       Pursuant to Fed. R. Crim. P. 16(b), the United States demands reciprocal discovery.


UNITED STATES’ SUPPLEMENTAL DISCOVERY RESPONSE AND
DEMAND FOR RECIPROCAL DISCOVERY - 1
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     The United States will continue to provide discovery materials as they become available.

     DATED this 29th day of January, 2024.

                                                 JOSHUA D. HURWIT
                                                 UNITED STATES ATTORNEY
                                                 By:

                                                 s/ Adam M. Johnson
                                                 ADAM M. JOHNSON
                                                 Assistant United States Attorney




UNITED STATES’ SUPPLEMENTAL DISCOVERY RESPONSE AND
DEMAND FOR RECIPROCAL DISCOVERY - 2
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 29, 2024, the foregoing UNITED STATES’

SUPPLEMENTAL DISCOVERY RESPONSE AND DEMAND FOR RECIPROCAL

DISCOVERY, was electronically filed with the Clerk of the Court using the CM/ECF system

which sent a Notice of Electronic Filing to the following person(s):

 Justin Lonergan                                     ECF Filing
 Justin_Lonergan@fd.org




                                                     s/ Carin Crimp
                                                     Legal Assistant




UNITED STATES’ SUPPLEMENTAL DISCOVERY RESPONSE AND
DEMAND FOR RECIPROCAL DISCOVERY - 3
